     Case 8:18-bk-12466-CB              Doc 32 Filed 09/06/18 Entered 09/06/18 08:46:06               Desc
                                         Main Document     Page 1 of 4


     Amrane Cohen, Chapter 13 Trustee
 1   Brian D. Wirsching (SBN 189491)
     770 The City Drive South, Suite 8500
 2   Orange, CA 92868
     Phone (714) 621-0200
 3   Fax (714) 621-0277
     Office e-mail: efile@ch13ac.com
 4   Direct e-email: brian@ch13ac.com
 5

 6                                     UNITED STATES BANKRUPTCY COURT
 7                     CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
 8   In re:                                                   Case No.: 8:18-bk-12466-CB
 9
                                                              Chapter 13
10   RANDY RAMIREZ
                                                              CHAPTER 13 TRUSTEE’S OBJECTION TO
11                                                            CONFIRMATION OF CHAPTER 13 PLAN

12                                                            Continued § 341(a) Meeting:
                                                              Date:       September 5, 2018
13                                                            Time:       10:00 am
                                                              Place:      Room 1-154
14                                                                        411 W. 4th Street, Santa Ana, CA

15                                            Debtor(s)       Confirmation Hearing:
                                                              Date:       September 20, 2018
                                                              Time:       1:30 pm
16                                                            Courtroom: 5D
                                                              Address:    411 West Fourth Street,
17                                                                        Santa Ana, CA 92701
18
               PLEASE TAKE NOTICE that Amrane Cohen, Chapter 13 Trustee (“Trustee”), hereby objects
19

20
     to confirmation of Debtor’s Chapter 13 Plan filed 07/30/2018 [Docket No. 20] (the “Plan”), the

21   confirmation hearing for which is set on the date, time, and location indicated above.

22             NOTICE IS GIVEN that unless an earlier date is provided by the Local Bankruptcy Rules
23   (“LBR”), any documents requested herein or required to be provided to the Trustee must be provided
24
     not later than seven (7) calendar days prior to the confirmation hearing.1
25

26

     1   The Local Bankruptcy Rules may be found at http://www.cacb.uscourts.gov/local-rules.

                                                                  1
     Case 8:18-bk-12466-CB         Doc 32 Filed 09/06/18 Entered 09/06/18 08:46:06                  Desc
                                    Main Document     Page 2 of 4


             NOTICE IS GIVEN that any reply to this objection must be in writing, filed with the Court,
 1

 2
     and served upon the Trustee not later than seven (7) calendar days prior to the confirmation hearing.

 3   Unless the Court finds good cause, a reply document not timely filed and served may not be

 4   considered.
 5           The claims bar date for non-governmental units of 9/17/2018 will have passed by the
 6
     confirmation hearing.
 7
             1.     Notice and proof of service of the Plan has not been filed. LBR 3015-1(b)(3).
 8
             2.     The following income tax returns have not been provided to the Trustee: 2016 state.
 9
     LBR 3015-1(c)(3).
10

11           3.     Schedule A/B asserts that Debtor has only a one-half interest in the real property located

12   at 120 S. Milton Street, Anaheim, CA. At the § 341(a) meeting, Debtor stated that the sole basis for

13   claiming only a one-half was due to his spouse's community interest in the property. This is an
14
     improper basis for such an assertion and Debtor is requested to amend Schedule A.
15
             4.     Per Schedule E/F there are no unsecured creditors listed. However, LVNV Funding has
16
     filed an unsecured proof of claim no. 01 and the Franchise Tax Board has filed proofs of claims no. 02
17
     and 03 which contain general unsecured liability. Debtor’s disclosed monthly net income per schedules
18
     is 2,100 whereas the plan payment is $962. Given Debtor’s net monthly income, this should be 100%
19

20   plan versus the 0% plan proposed. A higher percentage plan may also be required due to the chapter 7

21   liquidation test (11 U.S.C. § 1325(a)(4)) and the means test (11 U.S.C. § 1325(b)).

22           5.     The Plan at Part 2, Section I.B.1, fails to specify whether it is percentage or residual
23
     plan.
24
             6.     The Plan at Part 2, Section I.B.2, fails to set forth an amount to be paid to general
25
     unsecured creditors per the chapter 7 liquidation test (11 U.S.C. § 1325(a)(4)) and the means test (11
26
     U.S.C. § 1325(b)).

                                                          2
     Case 8:18-bk-12466-CB         Doc 32 Filed 09/06/18 Entered 09/06/18 08:46:06               Desc
                                    Main Document     Page 3 of 4


            7.      The Plan is not feasible, as the Franchise Tax Board priority proof of claim no. 02 of
 1

 2
     $9,917.64 is not provided for in the Plan.

 3          8.      The Plan is not feasible, as the Franchise Tax Board priority proof of claim no. 03 of

 4   $756.31 is not provided for in the Plan.
 5          9.      The Trustee reserves the right to supplement this objection or raise additional grounds
 6
     for objection at the confirmation hearing based upon failure to make payments, claims filed, and/or
 7
     documents provided.
 8
     Dated: September 6, 2018                          /s/ Brian D. Wirsching
 9                                                     Staff Attorney for
                                                       Amrane Cohen, Chapter 13 Trustee
10

11

12

13                                                VERIFICATION

14          I, Brian D. Wirsching, declare that I am employed as a staff attorney for Amrane Cohen,
15
     Chapter 13 Trustee in this case (“Trustee”). The Trustee is the duly appointed chapter 13 trustee in the
16
     instant case. I have personally reviewed the files and records maintained by the Trustee in this case and
17
     the facts stated this objection are true and correct to the best of my knowledge.
18
     Dated: September 6, 2018                      By: /s/ Brian D. Wirsching
19                                                    Attorney for Amrane Cohen, Chapter 13 Trustee
20

21

22

23

24

25

26



                                                          3
        Case 8:18-bk-12466-CB                      Doc 32 Filed 09/06/18 Entered 09/06/18 08:46:06                                     Desc
                                                    Main Document     Page 4 of 4
                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

770 The City Drive South, Suite 8500, Orange, CA 92868

A true and correct copy of the foregoing document entitled (specify): CHAPTER 13 TRUSTEE’S OBJECTION TO
CONFIRMATION OF CHAPTER 13 PLAN will be served or was served (a) on the judge in chambers in the form and
manner required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
09/06/2018, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Amrane Cohen efile@ch13ac.com
United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
Ronald A Norman ronaldanorman@sbcglobal.net
                                                                                       ☐ Service information continued on attached page
2. SERVED BY UNITED STATES MAIL:
On (date) 09/06/2018, I served the following persons and/or entities at the last known addresses in this bankruptcy case
or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first
class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge
will be completed no later than 24 hours after the document is filed.




                     Randy Ramirez
                     120 S. Milton Street
                     Anaheim, CA 92806




                                                                                       ☐ Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

The Hon. CATHERINE E. BAUER
                                                                                       ☐ Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  09/06/2018                     Rachel Saucedo                                                  /s/ Rachel Saucedo
  Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
